 Case 2:22-cv-01182-ES-CLW Document 1 Filed 03/04/22 Page 1 of 29 PageID: 1




                           UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY


 MICHELLE GRAY, on behalf of herself and all              Civil Case Number: _____________
 others similarly situated,

                        Plaintiff(s),                               CIVIL ACTION

                                                        CLASS ACTION COMPLAINT AND
                      -against-                           DEMAND FOR JURY TRIAL

 PRESSLER, FELT & WARSHAW, L.L.P;
 LVNV FUNDING, LLC,

                        Defendant(s).


                          LOCAL CIVIL RULE 10.1 STATEMENT

       1.      The mailing addresses of the parties to this action are:

               MICHELLE GRAY
               35 Pearce Avenue
               Eatontown, New Jersey 07724

               PRESSLER, FELT & WARSHAW, L.L.P.
               7 Entin Road
               Parsippany, New Jersey 07054

               LVNV FUNDING, LLC
               700 Executive Center Drive, #300,
               Greenville, South Carolina 29615

                                  PRELIMINARY STATEMENT

       2.      Plaintiff on behalf of herself and all others similarly situated (“Plaintiff”), by and

through her attorneys, alleges that Defendants, PRESSLER, FELT & WARSHAW, L.L.P.

(“PRESSLER”); LVNV FUNDING, LLC (“LVNV”) and JOHN DOES 1-25, their employees,

agents and successors (collectively “Defendants”) violated 15 U.S.C. § 1692 et seq., the Fair Debt




                                           Page 1 of 19
 Case 2:22-cv-01182-ES-CLW Document 1 Filed 03/04/22 Page 2 of 29 PageID: 2




Collection Practices Act (hereinafter “FDCPA”), which prohibits debt collectors from engaging in

abusive, deceptive and unfair practices.

                                 JURISDICTION AND VENUE

        3.     This Court has jurisdiction over this action pursuant to 15 U.S.C. § 1692k(d). This

is an action for violations of 15 U.S.C. § 1692 et seq.

        4.     Venue is proper in this district under 28 U.S.C. §1391(b) and 15 U.S.C. § 1692k(d)

because the acts of the Defendant that give rise to this action, occurred in substantial part, in this

district.

                                             DEFINITIONS

        5.     As used in this complaint, the terms “creditor,” “consumer,” “debt” and “debt

collector” are defined at 15 U.S.C. § 1692a.

                                              PARTIES

        6.     Plaintiff is a natural person, a resident of Monmouth County, New Jersey and is a

“Consumer” as defined by 15 U.S.C. § 1692a(3).

        7.     PRESSLER maintains a location at 7 Entin Road, Parsippany, New Jersey 07054.

        8.     LVNV maintains a location at 700 Executive Center Drive, #300, Greenville, South

Carolina 29615.

        9.     PRESSLER uses the instrumentalities of interstate commerce or the mails to engage

in the principal business of collecting debt and/or to regularly engage in the collection or attempt

to collect debt asserted to be due or owed to another.

        10.    LVNV uses the instrumentalities of interstate commerce or the mails to engage in

the principal business of collecting debt.

        11.    PRESSLER is a “Debt Collector” as that term is defined by 15 U.S.C. § 1692(a)(6).



                                              Page 2 of 19
 Case 2:22-cv-01182-ES-CLW Document 1 Filed 03/04/22 Page 3 of 29 PageID: 3




       12.     LVNV is a “Debt Collector” as that term is defined by 15 U.S.C. § 1692(a)(6).

       13.     John Does 1-25, are currently unknown Defendants whose identities will be

obtained in discovery and at that time will be made parties to this action pursuant to the Federal

Rules of Civil Procedure (hereinafter “FRCP”); Rule 15, Rule 20 and Rule 21. Plaintiff’s claims

against the currently unknown Defendants arise out of the same transaction, occurrence or series

of transactions arising from known Defendant’s actions and are due to common questions of law

and fact whose joinder will promote litigation and judicial efficiency.

                               CLASS ACTION ALLEGATIONS

       14.     Plaintiff brings this action as a state-wide class action, pursuant to Rule 23 of the

FRCP, on behalf of herself and all New Jersey consumers and their successors in interest (the

“Class”), who were sent debt collection letters and/or notices from the Defendants, in violation of

the FDCPA, as described in this Complaint.

       15.     This Action is properly maintained as a class action. The Class is initially defined

as:

                   All New Jersey consumers who were sent letters and/or notices
                   from PRESSLER (See Exhibit A ) asserting that LVNV was the
                   current judgment creditor in an attempt to collect on a judgment,
                   which included the alleged conduct and practices described
                   herein.

                   The class definition may be subsequently modified or refined.

                   The Class period begins one year prior to the filing of this Action.

       16.     The Class satisfies all the requirements of Rule 23 of the FRCP for maintaining a

               class action:

                   a. Numerosity: The Class is so numerous that joinder of all members is

                       impracticable because there are hundreds and/or thousands of persons who



                                           Page 3 of 19
Case 2:22-cv-01182-ES-CLW Document 1 Filed 03/04/22 Page 4 of 29 PageID: 4




                were sent debt collection letters and/or notices from the Defendant(s) that

                violate specific provisions of the FDCPA. Plaintiff is complaining about a

                standard form letter and/or notice that was sent to at least fifty (50) persons

                (See Exhibit A). The undersigned has, in accordance with FRCP Rule 5.2,

                redacted the financial account numbers and/or personal identifiers in said

                letter.

             b. Commonality: There are questions of law and fact common to the class

                members which predominate over questions affecting any individual Class

                member.       These common questions of law and fact include, without

                limitation:

                i.        Whether the Defendants violated various provisions of the FDCPA

                          as set forth herein:

                ii.       Whether Plaintiff and the Class have been injured by the

                          Defendants' conduct;

                iii.      Whether Plaintiff and the Class have sustained damages and are

                          entitled to restitution as a result of Defendants' wrongdoing and if

                          so, what is the proper measure and appropriate statutory formula to

                          be applied in determining such damages and restitution; and

                iv.       Whether Plaintiff and the Class are entitled to declaratory relief.

             c. Typicality: Plaintiff’s claims are typical of the Class, which all arise from

                the same operative facts and are based on the same legal theories.

             d. Adequacy of Representation: Plaintiff has no interest adverse or

                antagonistic to the interest of the other members of the Class. Plaintiff will



                                       Page 4 of 19
 Case 2:22-cv-01182-ES-CLW Document 1 Filed 03/04/22 Page 5 of 29 PageID: 5




                       fairly and adequately protect the interest of the Class and has retained

                       experienced and competent attorneys to represent the Class.

       17.      A Class Action is superior to other methods for the fair and efficient adjudication

of the claims herein asserted. Plaintiff anticipates no unusual difficulties in the management of this

class action.

       18.      A Class Action will permit large numbers of similarly situated persons to prosecute

their common claims in a single forum simultaneously and without the duplication of effort and

expense that numerous individual actions would engender. Class treatment will also permit the

adjudication of relatively small claims by many Class members who could not otherwise afford to

seek legal redress for the wrongs complained of herein. Absent a Class Action, class members

will continue to suffer losses of statutory protected rights as well as damages.

       19.      Defendant(s) have acted on grounds generally applicable to the entire Class,

thereby making appropriate final relief with respect to the Class as a whole.

                                    STATEMENT OF FACTS

       20.      Plaintiff is at all times to this lawsuit, a "consumer" as that term is defined by 15

U.S.C. § 1692a(3).

       21.      At some time prior to December 29, 2021, Plaintiff allegedly incurred a financial

obligation to HSBC BANK (“HSBC”).

       22.      The HSBC obligation arose out of a transaction, in which money, property,

insurance or services, which are the subject of the transaction, are primarily for personal, family

or household purposes.

       23.      Plaintiff allegedly incurred the HSBC obligation by obtaining goods and services

which were primarily for personal, family and household purposes.



                                            Page 5 of 19
        Case 2:22-cv-01182-ES-CLW Document 1 Filed 03/04/22 Page 6 of 29 PageID: 6




                24.      The HSBC obligation did not arise out of a transaction that was for non-personal

      use.

                25.      The HSBC obligation did not arise out of a transaction that was for business use.

                26.      The HSBC obligation is a "debt" as defined by 15 U.S.C. § 1692a(5).

                27.      HSBC is a "creditor" as defined by 15 U.S.C. § 1692a(4).

                28.      At some time prior to December 29, 2021, the HSBC obligation was allegedly

      purchased by and/or sold to NEW CENTURY FINANCIAL SERVICES, INC (“NEW CENTURY

      FINANCIAL”).

                29.      In February 2014, a judgment was obtained on behalf of NEW CENTURY

      FINANCIAL against Plaintiff concerning the HSBC obligation in the Superior Court of New

      Jersey.

                30.      According to the Superior Court of New Jersey. NEW CENTURY FINANCIAL is

      still the one and only judgment creditor concerning the judgment obtained against the Plaintiff.

                31.      In July 2018, Philip Kahn, Esq. of FEIN, SUCH, KAHN & SHEPARD, P.C. filed

      a substitution of attorney with the Superior Court indicating that he and his law firm were

      substituting into the matter on behalf of the Plaintiff – NEW CENTURY FINANCIAL.

                32.      According to the Superior Court, the entries on the case since July 2018 are the

      following:

Filed Date Filings                               Docket Text                                Transaction ID Entry Date
                     SUBSTITUTION OF ATTORNEY submitted by KAHN, PHILIP, A of FEIN
07/30/2018           SUCH KAHN & SHEPARD PC on behalf of NEW CENTURY FINANCIAL             SCP20181687013 07/30/2018
                     SERVICES against MICHELLE BRYANT
                     APPLICATION FOR WAGE EXECUTION submitted by KAHN, PHILIP, A of
10/25/2018           FEIN SUCH KAHN & SHEPARD PC on behalf of NEW CENTURY                  SCP20182437659 10/25/2018
                     FINANCIAL SERVICES against MICHELLE BRYANT
                     SIGNED - WRIT OF EXECUTION AGAINST WAGES submitted by Case
11/21/2018                                                                                 SCP20182662252 11/21/2018
                     Management Staff
11/22/2018           Execution Notice submitted by Case Management                         SCP20182666539 11/22/2018



                                                       Page 6 of 19
        Case 2:22-cv-01182-ES-CLW Document 1 Filed 03/04/22 Page 7 of 29 PageID: 7




Filed Date Filings                                      Docket Text                                 Transaction ID Entry Date
01/14/2019           Writ Returned submitted by Court                                               SCP2019247530 01/30/2019
                     APPLICATION FOR WAGE EXECUTION submitted by FELT, GERARD, J of
01/13/2022           PRESSLER FELT & WARSHAW, LLP on behalf of NEW CENTURY                          SCP2022101970 01/13/2022
                     FINANCIAL SERVICES against MICHELLE BRYANT
                     CLERK NOTICE: re: APPLICATION FOR WAGE EXECUTION
01/14/2022           [SCP2022101970] -totals do not match draft and application. Pleas review and   SCP2022120722 01/14/2022
                     resubmit.
                     SUBSTITUTION OF ATTORNEY submitted by FELT, GERARD, J of
02/23/2022           PRESSLER FELT & WARSHAW, LLP on behalf of NEW CENTURY                          SCP2022465785 02/23/2022
                     FINANCIAL SERVICES against MICHELLE BRYANT
                     SUBSTITUTION OF ATTORNEY submitted by FELT, GERARD, J of
03/01/2022           PRESSLER FELT & WARSHAW, LLP on behalf of NEW CENTURY                          SCP2022517239 03/01/2022
                     FINANCIAL SERVICES against MICHELLE BRYANT
      Showing 1 to 9 of 9 entries


               33.       Defendants caused to be delivered to Plaintiff a letter and a Notice of Application

      for Wage Execution dated December 29, 2021, which was addressed to Plaintiff. A copy of said

      communication is annexed hereto as Exhibit A, which is fully incorporated herein by reference.

               34.       The December 29, 2021 communication was sent to Plaintiff in connection with the

      collection of the HSBC judgment.

               35.       The December 29, 2021 letter is a “communication” as defined by 15 U.S.C. §

      1692a(2).

               36.       Upon receipt, Plaintiff read the December 29, 2021 communication.

               37.       The December 29, 2021 letter advised Plaintiff that she was being contacted in

      reference to:




               38.       While the December 29, 2021 letter indicated that PRESSLER was acting on behalf

      of NEW CENTURY FINANCIAL as the current assignee, the letter also asserted that the current

      judgment creditor was LVNV FUNDING, LLC.



                                                          Page 7 of 19
 Case 2:22-cv-01182-ES-CLW Document 1 Filed 03/04/22 Page 8 of 29 PageID: 8




         39.   In the accompanying Notice of Application for Wage Execution, Gerald J. Felt,

Esq. of PRESSLER indicated that his statements contained therein were true and not willfully

false.

         40.   As such, Gerald J. Felt, Esq. of PRESSLER stated that the following statement was

true and not willfully false:




         41.   The judgment-creditor as of December 29, 2021 was NEW CENTURY

FINANCIAL, however PRESSLER was not acting on its behalf. Rather PRESSLER was acting

on behalf of LVNV.

         42.   On January 13, 2022, Gerald J. Felt, Esq. of PRESSLER filed a Certification of

Amount Due in Support of Execution Against Earnings Pursuant to 15 U.S.C. 1673 and N.J.S.A.

2A:17-56 (“Execution Certification”) with the Superior Court of New Jersey. A copy of said

communication is annexed hereto as Exhibit B, which is fully incorporated herein by reference.

         43.   The caption of the Execution Certification was:




                                          Page 8 of 19
 Case 2:22-cv-01182-ES-CLW Document 1 Filed 03/04/22 Page 9 of 29 PageID: 9




       44.     The caption of the Execution Certification indicated that PRESSLER was acting on

behalf of NEW CENTURY FINANCIAL – the current assignee (and current judgment creditor

according to the Superior Court of New Jersey).

       45.     Gerald J. Felt, Esq. of PRESSLER indicated that his statements in the Execution

Certification were true and not willfully false:




       46.     On February 22, 2022, Gerald J. Felt, Esq. of PRESSLER filed a letter and a

Substitution of Attorney with the Superior Court of New Jersey. A copy of said communication

is annexed hereto as Exhibit C, which is fully incorporated herein by reference.

       47.     The February 22, 2022 letter advised the Superior Court of New Jersey that

PRESSLER was submitting a Substitution of Attorney to be filed and that it was acting in the

following matter on behalf of NEW CENTURY FINANCIAL;




       48.     The caption of the Substitution of Attorney submitted to the Superior Court of New

Jersey by PRESSLER was:




                                            Page 9 of 19
Case 2:22-cv-01182-ES-CLW Document 1 Filed 03/04/22 Page 10 of 29 PageID: 10




          49.   The Substitution of Attorney stated in part:




          50.   New Jersey Court Rule 4:26-1 requires that every action be prosecuted in the name

of the real party in interest.

          51.   Defendants have not complied with New Jersey Court Rule 4:26-1.

          52.   New Jersey Court Rule 4:59-1 et seq. restricts the process to enforce judgments to

the judgment creditor or successor in interest appearing of record.

          53.   LVNV is not the judgment creditor nor is it the successor in interest appearing of

record.

          54.   According to the records maintained by the Superior Court of New Jersey, LVNV

is not now, nor has it ever been recognized by the Superior Court as the judgment creditor for the

judgment obtained against Plaintiff.




                                           Page 10 of 19
Case 2:22-cv-01182-ES-CLW Document 1 Filed 03/04/22 Page 11 of 29 PageID: 11




       55.     According to the Superior Court of New Jersey, NEW CENTURY FINANCIAL

was and is still the judgment creditor at all times relevant herein.

       56.     According to the Superior Court of New Jersey, PRESSLER is and was acting at

all times with respect to the judgment on behalf of NEW CENTURY FINANCIAL despite the fact

that it is actually acting on behalf of LVNV.

       57.     Defendants have not complied with New Jersey Court Rule 4:59-1 et seq.

       58.     New Jersey Court Rule 1:4-10 governs the actions of an assignee of a judgment

obtained in the Superior Court of New Jersey:

        Assignment of Judgment

       Whenever there shall be an assignment of a judgment, the assignee may
       become the assignee of record by filing the assignment of judgment with the Clerk of
       the Court that entered the judgment. All such assignments of judgment must be in
       writing, showing the date thereof; the name and address of the assignor and assignee;
       the amount of the judgment or the amount remaining due on the judgment, whichever is
       lesser, and when and by what court the judgment was granted; a statement describing
       the rights assigned; and the docket number. All such assignments of judgment shall be
       executed by the judgment creditor or, if applicable, by a prior assignee of record and
       must be acknowledged as are deeds for recordation. When such assignment is filed
       with the court as herein provided, all forms of post-judgment civil process thereafter
       shall be captioned in the name of the original judgment creditor with the added wording
       “by assignee” followed by the name of the assignee.

       59.     Defendants have not complied with New Jersey Court Rule 1:4-10.

       60.     Instead of complying with the New Jersey Rules of Court or the FDCPA,

PRESSLER fraudulently asserted to the Superior Court of New Jersey and the Plaintiff that it was

acting legally and under the color of law.

       61.     LVNV regularly monitors the actions of PRESSLER, and it was fully aware of the

actions taken and approved of those actions taken by PRESSLER.

       62.     PRESSLER knew or should have known that its actions violated the FDCPA.




                                             Page 11 of 19
Case 2:22-cv-01182-ES-CLW Document 1 Filed 03/04/22 Page 12 of 29 PageID: 12




       63.    LVNV knew or should have known that its actions and that of PRESSLER violated

the FDCPA.

       64.    The Defendants knowingly engaged in the conduct described herein.

       65.    Defendants could have taken the steps necessary to bring their actions within

compliance with the FDCPA but neglected to do so and failed to adequately review its actions to

ensure compliance with the law.

                        POLICIES AND PRACTICES COMPLAINED OF

       66.    It is Defendants' policy and practice to send written collection communications, in

the form annexed hereto as Exhibit A, which violate the FDCPA, by inter alia:

              (a)    Using false, deceptive or misleading representations or means in connection
                     with the collection of a debt;

              (b)    Making a false representation of the character or legal status of the debt;

              (c)    Representing or implying that nonpayment of any debt will result in the
                     seizure, garnishment, attachment or sale of ay property or wages of any
                     person unless such action is lawful and the debt collector or creditor intends
                     to take such action;

              (d)    Threatening to take any action that cannot legally be taken or that is not
                     intended to be taken;

              (e)    Using any written communication which simulates or is falsely represented
                     to be a document authorized. Issued, or approved by any court or which
                     gives the false impression as to its source, authorization or approval;

              (f)    Falsely representing or implying that documents are legal process; and

              (g)    Using unfair or unconscionable means to collect or attempt to collect any
                     debt.

       67.    Defendants have sent written communications in the form annexed hereto as

Exhibit A, to at least 50 natural persons in the state of New Jersey within one year of this

Complaint.



                                         Page 12 of 19
Case 2:22-cv-01182-ES-CLW Document 1 Filed 03/04/22 Page 13 of 29 PageID: 13




                                                COUNT I

                      FAIR DEBT COLLECTION PRACTICES ACT, 15 U.S.C. §
                                  1692 et seq. VIOLATIONS

        68.     Plaintiff, on behalf of herself and others similarly situated, repeats and realleges all

prior allegations as if set forth at length herein.

        69.     Collection letters and/or notices, such as those sent by Defendants, are to be

evaluated by the objective standard of the hypothetical “least sophisticated consumer.”

        70.     The form, layout and content of Defendant’s letter would cause the least

sophisticated consumer to be confused about his or her rights.

        71.     Defendants’ attempt to collect the alleged debt as described herein violated various

provisions of the FDCPA including but not limited to: 15 U.S.C. § 1692e; § 1692e(2)(A); §

1692e(5); § 1692e(9); § 1692e(10); and § 1692e(13).

        72.     Defendants violated 15 U.S.C. § 1692e of the FDCPA by using any false, deceptive

or misleading representation or means in connection with their attempts to collect debts from

Plaintiff and others similarly situated.

        73.     Defendants violated 15 U.S.C. § 1692e of the FDCPA in connection with their

communications to Plaintiff and others similarly situated.

        74.     As described herein, Defendants violated 15 U.S.C. § 1692e of the FDCPA.

        75.     Defendant’s false, misleading and deceptive statement(s) is material to the least

sophisticated consumer.

        76.     15 U.S.C. § 1692e(2)(A) of the FDCPA prohibits a debt collector from making a

false representation of the character, amount or legal status of a debt.

        77.     As described herein, Defendants violated 15 U.S.C. § 1692e(2)(A).




                                               Page 13 of 19
Case 2:22-cv-01182-ES-CLW Document 1 Filed 03/04/22 Page 14 of 29 PageID: 14




       78.     15 U.S.C. § 1692e(5) of the FDCPA prohibits a debt collector from threatening to

take any action that cannot legally be taken or that is not intended to be taken.

       79.     As described herein, Defendants violated 15 U.S.C. § 1692e(5).

       80.     As described herein, Defendants violated 15 U.S.C. § 1692e(9).

       81.     15 U.S.C. § 1692e(10) prohibits the use of any false representation or deceptive

means to collect or attempt to collect any debt.

       82.     As described herein, Defendants violated 15 U.S.C. § 1692e(10).

       83.     As described herein, Defendants violated 15 U.S.C. § 1692e(13).

       84.     Defendant PRESSLER is vicariously liable for any violations of the FDCPA that

LVNV committed as described herein.

       85.     Defendant LVNV is vicariously liable for any violations of the FDCPA that

PRESSLER committed as described herein. See Fox v. Citicorp Credit Services, Inc., 15 F.3d 1507

(9th Cir. 1994); Pollice v. National Tax Funding, L.P., 225 F.3d 379 (3d Cir. 2000).

       86.     Congress enacted the FDCPA in part to eliminate abusive debt collection practices

by debt collectors.

       87.     Plaintiff and others similarly situated have a right to be free from abusive debt

collection practices by debt collectors.

       88.     Plaintiff and others similarly situated have a right to receive proper notices

mandated by the FDCPA.

       89.     Plaintiff and others similarly situated were sent letters, which could have affected

their decision-making with regard to the debt.

       90.     Plaintiff and others similarly situated have suffered harm as a direct result of the

abusive, deceptive and unfair collection practices described herein.



                                           Page 14 of 19
Case 2:22-cv-01182-ES-CLW Document 1 Filed 03/04/22 Page 15 of 29 PageID: 15




        91.     Plaintiff has suffered damages and other harm as a direct result of Defendants

actions, conduct, omissions and violations of the FDCPA described herein.

        WHEREFORE, Plaintiff demands judgment against Defendants as follows:

                (a)     Declaring that this action is properly maintainable as a Class Action and

certifying Plaintiff as Class representative and her attorneys as Class Counsel;

                (b)     Awarding Plaintiff and the Class statutory damages;

                (c)     Awarding Plaintiff and the Class actual damages, including but not limited

to a disgorgement of all money collected during the relevant period;

                (d)     Awarding pre-judgment interest;

                (e)     Awarding post-judgment interest.

                (f)     Awarding Plaintiff costs of this Action, including reasonable attorneys' fees

and expenses; and

              (g)    Awarding Plaintiff and the Class such other and further relief as the Court
may deem just and proper.


                                 DEMAND FOR TRIAL BY JURY

        Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff hereby requests a

trial by jury on all issues so triable.

Dated: March 3, 2022                                  Respectfully submitted,

                                               By:    s/ Joseph K. Jones
                                                      Joseph K. Jones, Esq. (JJ5509)
                                                      JONES, WOLF& KAPASI, LLC
                                                      375 Passaic Avenue
                                                      Fairfield, New Jersey 07004
                                                      Phone: (973) 227-5900
                                                      Fax: (973) 244-0019
                                                      Attorneys for Plaintiff




                                           Page 15 of 19
Case 2:22-cv-01182-ES-CLW Document 1 Filed 03/04/22 Page 16 of 29 PageID: 16




                       CERTIFICATION PURSUANT TO LOCAL RULE 11.2

       I, hereby certify that the matter in controversy is not the subject of any other court,

arbitration or administrative proceeding.

Dated: March 3, 2022
                                                      s/ Joseph K. Jones
                                                      Joseph K. Jones, Esq. (JJ5509)




                                            Page 16 of 19
Case 2:22-cv-01182-ES-CLW Document 1 Filed 03/04/22 Page 17 of 29 PageID: 17




            EXHIBIT

                                 A


                                Page 17 of 19
Case 2:22-cv-01182-ES-CLW Document 1 Filed 03/04/22 Page 18 of 29 PageID: 18
Case 2:22-cv-01182-ES-CLW Document 1 Filed 03/04/22 Page 19 of 29 PageID: 19
Case 2:22-cv-01182-ES-CLW Document 1 Filed 03/04/22 Page 20 of 29 PageID: 20




            EXHIBIT

                                  B


                                Page 18 of 19
            MON-DC-000038-14 01/13/2022 12:27:59 PM Pg 1 of 3 Trans ID: SCP2022101970
        Case 2:22-cv-01182-ES-CLW Document 1 Filed 03/04/22 Page 21 of 29 PageID: 21


Gerard J. Felt - 023071981
STATE OF NEW JERSEY                                        PFW File Number
SUPERIOR COURT OF NEW JERSEY: LAW DIVISION                           Acct #
MONMOUTH SPECIAL CIVIL PART                                        Ref # 227759941
DOCKET # DC-000038-14
                                                   CERTIFICATION OF AMOUNT DUE
                                                          IN SUPPORT OF
                                                    EXECUTION AGAINST EARNINGS
                                                   PURSUANT TO 15 U.S.C. 1673
                                                      AND N.J.S.A. 2A:17-56
Plaintiff         NEW CENTURY FINANCIAL SERVICES, INC.
                  CURRENT ASSIGNEE, [HSBC, ORIGINAL
                  CREDITOR]
vs.
Designated Defendant,        MICHELLE BRYANT
Name and Address of Employer Ordered to make Deductions:
BRICK TOWNSHIP BOARD OF EDUCATION
101 HENDRICKSON AVE
BRICK TOWNSHIP NJ 087242574

Judgment Date...........................               02/26/14
Judgment Award.........................$                 695.34
Court Costs & State Atty. Fees.........$                  67.91
Total Judgment Amount..................$                 763.25
Interest From Prior Writs..............$                   6.59
Costs From Prior Writs.................$                  44.00
Subtotal A.............................$                 813.84
Credits From Prior Writs...............$                   0.00
Subtotal B.............................$                 813.84
New Miscellaneous Costs................$                   0.00
New Interest on this Writ..............$                  49.42
New Credits On This Writ...............$                  41.25
Execution Fees & Mileage...............$                  42.00
Subtotal C.............................$                 864.01
Court Officer Fee......................$                  86.40
Total Due this Date....................$                 950.41
                                            Please issue to Court Officer, OCEAN County:



   I CERTIFY that the foregoing statments made by me are true. I am aware
that if any of the foregoing statements made by me are willfully false, I am
subject to punishment.
   Attorney for Judgment Creditor
    /S/ Gerard J. Felt                     Dated 01/13/2022
   By: Gerard J. Felt
   Pressler, Felt & Warshaw, LLP
   7 Entin Rd.
   Parsippany, NJ 07054-5020
   1-973-753-5100
              MON-DC-000038-14 01/13/2022 12:27:59 PM Pg 2 of 3 Trans ID: SCP2022101970
          Case 2:22-cv-01182-ES-CLW Document 1 Filed 03/04/22 Page 22 of 29 PageID: 22

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to the public upon request. Therefore, do not enter personal identifiers on it, such as
Social Security number, driver's license number, vehicle plate number, insurance policy
number, active financial account number, or active credit card number.
PFW File Number Number B204298
Pressler, Felt & Warshaw, LLP                 Superior Court Of New Jersey
Attorneys At Law                              Law Division MONMOUTH Special Civil Part
7 Entin Rd.                                   Docket # DC-000038-14 Civil Action
Parsippany, NJ 07054-5020                     NOTICE OF APPLICATION FOR WAGE EXECUTION
Attorney(s) for Judgment Creditor
1-973-753-5100
                                                 NEW CENTURY FINANCIAL SERVICES, INC. CURRENT
                                                 ASSIGNEE, [HSBC, ORIGINAL CREDITOR]
                                                 Plaintiff(s)
To: MICHELLE BRYANT
35 PEARCE AVE                                        -vs-
EATONTOWN, NJ 077241711
                                                 MICHELLE BRYANT
                                                 Defendant(s)
TAKE NOTICE that an application is being made by the judgment-creditor to the above-named
court, located at 71 MONUMENT PARK PO BOX 1270,FREEHOLD,NJ 07728 for a Wage Execution Order to
issue against your salary, to be served on your employer,
BRICK TOWNSHIP BOARD OF EDUCATION
101 HENDRICKSON AVE
BRICK TOWNSHIP NJ 087242574
for: (a)10% of your gross salary when the same shall equal or exceed the amount of $217.50 per
week; or (b) 25% of your disposable earnings for that week; or (c) the amount, if any, by
which your disposable weekly earnings exceed $217.50 , whichever shall be the least.
Disposable earnings are defined as that portion of the earnings remaining after the deduction
from the gross earnings of any amounts required by law to be withheld. In the event the
disposable earnings so defined are $217.50 or less, if paid weekly, or $435.00 or less, if
paid every two weeks, or $471.25 or less, if paid twice a month, or $942.50 , or less,if paid
monthly then no amount shall be withheld under this execution. In no event shall more than 10%
of gross salary be withheld and only one execution against your wages shall be satisfied at a
time. Your employer may not discharge, discipline or discriminate against you because your
earnings have been subjected to garnishment.
You may notify the Office of the Special Civil Part and the attorneys for judgment-creditor,
whose address appears above, in writing, within ten days after service of this notice upon
you, why such an Order should not be issued, and thereafter the application for the Order will
be set down for a hearing of which you will receive notice of the date, time and place.
If you do not notify the Office of the Special Civil Part and judgment-creditor's attorney, or
the judgment-creditor if there is no attorney, in writing of your objection, you will receive
no further notice and the Order will be signed by the Judge as a matter of course.
You   also have a continuing right to object to the wage execution or apply for a reduction in
the   amount withheld even after it has been issued by the Court. To object or apply
for   a reduction, file a written statement of your objection or reasons for a reduction with
the   Office of the Special Civil Part and send a copy to the creditor's attorney or directly to
the   creditor if there is no attorney. You will be entitled to a hearing within 7 days after
you   file your objection or application for a reduction.
CERTIFICATION OF SERVICE. I served the within Notice upon judgment-debtor, MICHELLE BRYANT on
this date by sending it simultaneously by regular and certified mail, return receipt
requested, to the judgment-debtor's last known home address, set forth above. I certify that
the foregoing statements made by me are true. I am aware that if any of the foregoing
statements made by me are willfully false, I am subject to the punishment.
                                            PRESSLER, FELT & WARSHAW, LLP
                                            /S/ Gerard J. Felt
Dated: 12/29/2021                            Gerard J. Felt
                                            Attorney for Judgment Creditor
           MON-DC-000038-14 01/13/2022 12:27:59 PM Pg 3 of 3 Trans ID: SCP2022101970
        Case 2:22-cv-01182-ES-CLW Document 1 Filed 03/04/22 Page 23 of 29 PageID: 23

Docket Number: DC-000038-14
Plaintiff   : NEW CENTURY FINANCIAL SERVICES, INC. CURRENT ASSIGNEE, [HSBC]
      ORIGINAL CREDITOR
   vs
Defendant(s): MICHELLE BRYANT
Previous Balance : 763.25
Start Date : 02/26/14
 Date     Days    Taxable    Int Bal   Prin Bal   Cost Bal   Payment Bal Carr
 Type    Curr Rt Daily Int   New Int              New Cost            +Charges
        New Rate             App Int   App Prin   App Cost  App Const -App Pay
-------------------------------------------------------------------------------
02/26/14       0    763.25      0.00     763.25       0.00       0.00   763.25
   START    0.25    0.0052      0.00                  0.00               +0.00
            0.25                0.00       0.00       0.00       0.00    -0.00
01/01/17    1040    763.25      0.00     763.25       0.00       0.00   763.25
RATE CHG    0.25    0.0052      5.41                  0.00               +5.41
            0.50                0.00       0.00       0.00       0.00    -0.00
11/21/18     689    763.25      5.41     763.25       0.00       0.00   768.66
    COST    0.50    0.0105      7.23                 44.00              +51.23
            0.50                0.00       0.00       0.00       0.00    -0.00
11/21/18       0    807.25     12.64     763.25      44.00      41.25   819.89
     PAY    0.50    0.0111      0.00                  0.00               +0.00
            0.50               12.64       0.00      28.61       0.00   -41.25
01/01/19      41    778.64      0.00     763.25      15.39       0.00   778.64
RATE CHG    0.50    0.0107      0.44                  0.00               +0.44
            1.50                0.00       0.00       0.00       0.00    -0.00
01/01/20     365    778.64      0.44     763.25      15.39       0.00   779.08
RATE CHG    1.50    0.0320     11.68                  0.00              +11.68
            2.50                0.00       0.00       0.00       0.00    -0.00
01/01/21     366    778.64     12.12     763.25      15.39       0.00   790.76
RATE CHG    2.50    0.0533     19.51                  0.00              +19.51
            1.50                0.00       0.00       0.00       0.00    -0.00
01/01/22     365    778.64     31.63     763.25      15.39       0.00   810.27
RATE CHG    1.50    0.0320     11.68                  0.00              +11.68
            0.25                0.00       0.00       0.00       0.00    -0.00
01/12/22      11    778.64     43.31     763.25      15.39       0.00   821.95
RATE CHG    0.25    0.0053      0.06                  0.00               +0.06
            0.25                0.00       0.00       0.00       0.00    -0.00
                                                           Balance      822.01
-------------------------------------------------------------------------------
 Total Accumulated Interest 56.01 Ending Rate 0.25
               MON-DC-000038-14 01/13/2022 12:28:00 PM Pg 1 of 3 Trans ID: SCP2022101970
            Case 2:22-cv-01182-ES-CLW Document 1 Filed 03/04/22 Page 24 of 29 PageID: 24
                                                           Wage Execution
Superior Court of New Jersey                                     Order and Execution Against Earnings
Law Division, Special Civil Part                                 Pursuant to 15 U.S.C. 1673 and N.J.S.A. 2A:17-56
MONMOUTH County
Telephone Number 7323588700 Ext. 87905                              Judgment Number VJ-1645-14
Docket Number: MON-DC-000038-14                                     Writ Number                            Issued




                                                                                                         tf
NEW CENTURY FINANCIA

Plaintiff

                                 vs
MICHELLE BRYANT                                                     Name and Address of Employer Ordered to Make Deductions
                                                                      BRICK TOWNSHIP BOARD OF EDUCAT
Designated Defendant                                                  101 HENDRICKSON AVE
                                                                      BRICK TOWNSHIP NJ 08724-2574
35 PEARCE AVE
EATONTOWN NJ 07724




                                                                  a
          Unless the designated defendant is currently subject to withholding under another wage execution, the employer is ordered to
deduct from the earnings which the designated defendant receives and to pay over to the court officer named below, the lesser of the
following: (a) 10% of the gross weekly pay; or (b) 25% of disposable earnings for that week; or (c) the amount, if any, by which the
designated defendant's disposable weekly earnings exceed $217.50 per week, until the total amount due has been deducted or the
complete termination of employment. Upon either of these events, an immediate accounting is to be made to the court officer.




                                                                 r
Disposable earnings are defined as that portion of the earnings remaining after the deduction from gross earnings of any amounts
required by law to be withheld. In the event the disposable earnings so defined are $217.50 or less, if paid weekly, or $435.00 or less,
if paid every two weeks, or $471.25 or less, if paid twice per month, or $942.50, or less, if paid monthly then no amount shall be
withheld under this execution. In no event shall more than 10% of gross salary be withheld and only one execution against the wages
of the designated defendant shall be satisfied at a time. Please refer to the section of this form titled “How to Calculate Proper
Garnishment Amount”.

          The employer shall immediately give the designated defendant a copy of this order. The designated defendant may object to
the wage execution or apply for a reduction in the amount withheld at any time. To object or apply for a reduction, a written statement
of the objection or reasons for a reduction must be filed with the Clerk of the Court and a copy must be sent to the creditor’s attorney
or directly to the creditor if there is no attorney. A hearing will be held within 7 days after filing the objection or application for a




                                 D
reduction. According to law, no employer may terminate an employee because of a garnishment.

                                                                      Date
Judgment Date                               02/26/2014
Judgment Award.                       $         695.34
Court Costs & Stat Atty. Fees         $          67.91                                             Judge
Total Judgment Amount                 $         763.25
Interest from Prior Writs             $          12.37
Costs from Prior Writs                $          44.00
Subtotal A                            $         819.62                                      Michelle M. Smith
Credits from Prior Writs              $           0.00                                  Clerk of the Superior Court
Subtotal B                            $         819.62
New Miscellaneous Costs               $           0.00              Make payments at least monthly to Court Officer as set forth:
New Interest on this Writ             $          49.42
New Credits on this Writ              $          41.25
Execution Fees & Mileage              $          42.00                                         Court Officer
Subtotal C                            $         869.79
Court Officer Fee                     $          86.98
Total due this date                   $         956.77




Revised effective 09/01/20, CN 11471 - Appendix XI-J                                                                          page 1 of 3
               MON-DC-000038-14 01/13/2022 12:28:00 PM Pg 2 of 3 Trans ID: SCP2022101970
         Case 2:22-cv-01182-ES-CLW Document 1 Filed 03/04/22 Page 25 of 29 PageID: 25


Plaintiff’s Attorney and Address:                      I RETURN this execution to the Court
                                                          Unsatisfied    Satisfied       Partly Satisfied
FELT, GERARD, J                                        Amount Collected                $
PRESSLER FELT & WARSHAW, LLP                           Fee Deducted                    $
7 ENTIN RD                                             Amount Due to Attorney          $
                                                       Date




                                                                                          tf
PARSIPPANY NJ 070549944
973-753-5100
                                                       Court Officer:




                                                       ra
                                 D
Revised effective 09/01/20, CN 11471 - Appendix XI-J                                                        page 2 of 3
               MON-DC-000038-14 01/13/2022 12:28:00 PM Pg 3 of 3 Trans ID: SCP2022101970
         Case 2:22-cv-01182-ES-CLW Document 1 Filed 03/04/22 Page 26 of 29 PageID: 26

                                           How to Calculate Proper Garnishment Amount
 1. Gross pay per pay period                                                                                        $
 2. Less amounts legally required to be deducted:
    a. Federal Income Tax                                                                                       $
    b. Social Security (FICA or OASDI)                                                                          $
    c. Medicare                                                                                                 $




                                                                                                        tf
    d. State Income Tax                                                                                         $
    e. Unemployment Insurance (SUI)                                                                             $
    f. Temporary Disability Insurance (TDI)                                                                     $
    g. Family Leave Insurance (FLI)                                                                             $
    h. Workforce Development Fund/Supplement Workforce (WFD/SWF)                                                $
    i. Other                                                                                                    $
 3. Total allowable deductions (add lines a - i)                                                                    $
 4. Net pay (Subtract line 3 from line 1)                                                                           $
 5. Exemption Amount
      If salary is paid:             Subtract




                                                                 a
           Weekly                    $217.50
           Every two weeks           $435.00
           Twice per month           $471.25
           Monthly                   $942.50
 (Federal law prohibits any garnishment when net pay is smaller than the exemption amount on line 5)                -




                                                                r
 6. Equals the amount potentially subject to garnishment (subtract line 5 from line 4 and if less than zero,
 enter zero)                                                                                                    =
 7.   Take net pay (line 4) and multiply by .25                                           $           x .25 =
 8.   Take “gross pay” (line 1) and multiply by .10                                       $           x .10 =
 9. Compare lines 6, 7 and 8 - the amount which may lawfully be deducted is the smallest amount on line 6,          $
 line 7, or line 8.

 Source: 15 U.S.C. 1671 et seq.; 29 C.F.R. 870; N.J.S.A. 2A:17- 50 et seq.




                                 D
 [Note: Former Appendix XI-I adopted effective January 2, 1989; amended June 29, 1990, effective September 4, 1990; amended
 July 14, 1992, effective September 1, 1992; redesignated as Appendix XI-J and amended July 13, 1994, effective September 1,
 1994; amended September 27, 1996, effective October 1, 1996; amended July 30, 1997, effective September 1, 1997; amended July
 28, 2004 to be effective September 1, 2004; amended July 3, 2007, to be effective July 24, 2007; amended July 2, 2008, to be
 effective July 24, 2008; amended July 9, 2009 to be effective July 24, 2009; amended November 6, 2013 to be effective November
 25, 2013; amended July 22, 2014 to be effective September 1, 2014; amended August 1, 2016 to be effective September 1, 2016;
 amended March 7, 2017 to be effective immediately, amended July 31, 2020 to be effective September 1, 2020.




Revised effective 09/01/20, CN 11471 - Appendix XI-J                                                                    page 3 of 3
Case 2:22-cv-01182-ES-CLW Document 1 Filed 03/04/22 Page 27 of 29 PageID: 27




            EXHIBIT

                                 C


                                Page 19 of 19
    MON-DC-000038-14 03/01/2022 3:33:21 PM Pg 1 of 2 Trans ID: SCP2022517239
Case 2:22-cv-01182-ES-CLW Document 1 Filed 03/04/22 Page 28 of 29 PageID: 28
    MON-DC-000038-14 03/01/2022 3:33:21 PM Pg 2 of 2 Trans ID: SCP2022517239
Case 2:22-cv-01182-ES-CLW Document 1 Filed 03/04/22 Page 29 of 29 PageID: 29
